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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

DAVID LUCAS,                            )
                                        )
             Plaintiff,                 )
                                        )
      v.                                )     CASE NO. 2:19-MC-3879-WKW
                                        )
TERRY RAYBORN,                          )
                                        )
             Defendant.                 )

                             FINAL JUDGMENT

     In accordance with the prior proceedings, opinions, and orders of the court, it

is the ORDER, JUDGMENT, and DECREE of the court that this action is

DISMISSED.

     The Clerk of the Court is DIRECTED to enter this document on the civil

docket as a final judgment pursuant to Rule 58 of the Federal Rules of Civil

Procedure.

     DONE this 4th day of September, 2019.

                                                  /s/ W. Keith Watkins
                                            UNITED STATES DISTRICT JUDGE
